Case 1:22-cv-00035-JPB Document 77 Filed 08/03/22 Page 1 of 1 PageID #: 1892




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     AT WHEELING

      ASTRAZENECA AB and ASTRAZENECA
      PHARMACEUTICALS LP,

                             Plain t~Jfs,

             V.


      MYLAN PHARMACEUTICALS INC. and
      K1NDEVA DRUG DELIVERY L.P.,                              Civil Action No. l:22-CV-35-JPB

                             Defendants.




      ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL
                              FDOCKET NO. 761

           On August 2, 2022, Plaintiffs AstraZeneca AB and AstraZeneca Pharmaceuticals LP

    (“Plaintiffs”) moved for leave to file under seal their attached Response In Opposition to Mylan’s

    Motion to Modify the Scheduling Order, with exhibits. In support, the Plaintiffs stated the

    Response contained information that Plaintiffs and Defendants have designated as confidential and

    proprietary. Finding good cause, the Court GRANTS the Motion (Docket No. 76) and DIRECTS

    the Clerk to file the Response with exhibits under seal.

           It is so ORDERED.

           The Court DIRECTS the Clerk to transmit copies of this Order to all counsel of record.

           DATED:        3~ tofl.




                                                  UNITED          ATES DISTRICT JUDGE
